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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                   CASE NO. 1:89-cr-01007-MP

ALLAN ROSS,

       Defendant.

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                                            ORDER

       This matter is before the Court on Doc. 741, Motion to Vacate Fine Imposed at

Sentencing, filed by the defendant, Allan Ross, who is currently serving a life sentence. In his

motion, Defendant requests that the Court vacate the $10 million fine imposed on him as part of

his sentence in this case. As grounds for his request, Defendant cites his inability to earn money

through prison work programs due to his medical condition and his family’s inability to continue

depositing money into his institutional account due to their own medical and financial hardships.

The government has filed a response in opposition to the motion. Doc. 743. The Court has

carefully considered this matter and agrees with the government that Defendant has not cited

sufficient justification to warrant the relief sought. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       Defendant’s Motion to Vacate Fine Imposed at Sentencing (Doc. 741) is DENIED.

       DONE AND ORDERED this 17th day of July, 2009


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
